
994 So.2d 1277 (2008)
In re Erik Stafford PITTMAN.
No. 2008-B-2658.
Supreme Court of Louisiana.
November 19, 2008.

ORDER
Considering the record of these matters,
IT IS ORDERED that respondent, Erik Stafford Pittman, Louisiana Bar Roll number 28722, be and he hereby is suspended from the practice of law on an interim basis pursuant to Supreme Court Rule XIX, § 19.2, pending further orders of this court. Pursuant to Supreme Court Rule XIX, § 26(E), this order is effective immediately.
IT IS FURTHER ORDERED that the matter bearing this court's docket number 08-B-2615 be remanded to the disciplinary board for consolidation with the proceedings numbered 08-DB-084. After appropriate consideration of the consolidated matters, the board is directed to issue a single recommendation of discipline to this court encompassing all disciplinary matters involving respondent.
/s/ John L. Weimer
Justice, Supreme Court of Louisiana
